
TALLMAN, Circuit Judge,
concurring in part and dissenting in part:
I respectfully dissent from the majority’s erroneous conclusion that, under the modified categorical approach, Irma Renteria-Morales’s (“Renteria”) conviction for bail jumping does not meet the elements of an aggravated felony as set forth in 8 U.S.C. § 1101(a)(43)(T). Because the court’s holding is based on a fundamental misunderstanding of federal criminal procedure regarding mandatory conditions imposed on release from custody, and because the charging language of the bail jumping information compels the opposite conclusion, I would deny her petition for review. I concur in all other parts of the majority’s opinion.
The criminal information charging Renteria with bail jumping states in relevant part,
[tjhat ... Renteria-Morales, after having been released on or about March 2, 1992 pursuant to Chapter 207 of Title 18 of the United States Code, in connection with a charge of possession with intent to distribute marijuana, an offense punishable by imprisonment for a term of not more than five (5) years, and having been directed to appear before the District Court for the District of Arizona at Tucson, Arizona, ... willfully did fail to appear.
This language is susceptible to only one reasonable interpretation: Renteria was charged with the felony of possession of marijuana with the intent to distribute, she was released under 18 U.S.C. § 3142 subject to various terms of release under the statute, and she was ordered by a judge to appear in court to answer or dispose of that charge, but she willfully failed to do so. That conduct renders her ineligible for relief from deportation.
Renteria’s interpretation of the information, accepted by the majority, is unreasonable. She first contends that being “directed to” appear by a judge is not synonymous with being “ordered to” appear. Her argument ignores Sections 3141 and 3142, contained within Chapter 207 of Title 18, which use the term “order” throughout. For example, Section 3141(a) states, “Pending trial. — A judicial officer authorized to order the arrest of a person under section 3041 of this title before whom an arrested person is brought shall order that such person be released or detained, pending judicial proceedings, under this chapter.” (Emphasis added). Section 3142 provides, in relevant part,
(a) In general. Upon the appearance before a judicial officer of a person charged with an offense, the judicial officer shall issue an order ...
(b) Release on personal recognizance or unsecured appearance bond. The judicial officer shall order the pretrial release of the person ...
(c) Release on conditions. (1) If the judicial officer determines that the release described in subsection (b) of this section will not reasonably assure the appearance of the person as required or will endanger the safety of any other person or the community, such judicial officer shall order the pretrial release of the person....
(Emphasis added); See Fed.R.Crim.P. 5(d)(3) (“The judge must detain or release the defendant as provided by statute or these rules.”).
In this case, when the United States magistrate judge “directed” Renteria to *962appear, he was necessarily exercising his authority under Section 3142 and “ordering” Renteria to appear. There is no other possibility. That the information happens to use the words “directed to appear” instead of “ordered to appear” is immaterial.
Renteria also argues that, based on the language of the information, someone else could have been charged with possession with the intent to distribute marijuana, and that Renteria may have been ordered to appear as a material witness in that case, but failed to do so. That too is an unreasonable reading of the documents we may consider under Taylor’s modified categorical approach. The information explicitly states that Renteria was released “in connection with a charge of possession with the intent to distribute marijuana.” In other words, she was arrested on suspicion of committing that felony, then released. There is simply no reason to believe that someone else was charged with that felony, that Renteria was a material witness thereto, and that she failed to show up to testify. If Renteria had really failed to testify against someone else in a drug case, the information would have charged her failure to appear in response to a subpoena or agreement to testify. It did not.
Finally, Renteria argues, and the majority erroneously agrees, that, based on the language of the information, Renteria may have simply failed to show up for sentencing, as opposed to failing to show up “to answer or dispose of a charge of a felony.” There are two problems with Renteria’s argument.
First, the information cannot reasonably be read to mean that Renteria failed to show up for sentencing. If Renteria had really failed to show up for sentencing, then it follows that she would have already been found guilty of the crime described in the information. But the information does not say that. It simply says that she was “released ... in connection with” that felony. If Renteria had been convicted of the felony charged and failed to show up for sentencing, the information would say so.
Second, even if Renteria is correct that the information may be fairly read to mean that she did not show up for sentencing, a person who fails to show up for sentencing has failed to “dispose of a charge of a felony,” within the meaning of 8 U.S.C. § 1101(a)(43)(T). A “charge of a felony” is not “disposed of’ until the defendant is sentenced and judgment of conviction is entered. See Barnaby v. Reno, 142 F.Supp.2d 277, 279 (D.Conn.2001) (construing the defendant’s failure to appear at sentencing as a failure to “dispose of’ the charge within the meaning of 8 U.S.C. § 1101 (a)(43)(T)); see, e.g., Fed. R.App. P. 4(b) (noting that the final decision in a criminal case for purposes of appeal is the entry of the judgment of conviction). Thus, even under Renteria’s and the majority’s own reading of the information, she failed to “dispose of a charge of a felony.”
Under the modified categorical approach applied to a plain reading of the documents we may consider, Renteria’s conviction for bail jumping necessarily meets all of the elements of an aggravated felony as set forth in 8 U.S.C. § 1101(a)(43)(T). I would deny her petition for review.
